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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    MELODY M. WALCOTT, Bar #219930
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    MELVIN RAY WHITEHEAD
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:06-cr-0048 AWI
                                                     )
12                         Plaintiff,                )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE HEARING
13          v.                                       )   AND ORDER
                                                     )
14   MELVIN RAY WHITEHEAD,                           )   Date: September 11, 2006
                                                     )   Time: 9:00 A.M.
15                         Defendant.                )   Judge: Hon. Anthony W. Ishii
                                                     )
16                                                   )
17
18          IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
19   respective attorneys of record herein, that the status conference hearing in the above captioned matter
20   scheduled for August 21, 2006, may be continued to September 11, 2006, at 9:00 a.m.
21          This continuance is at the request of defense counsel to provide the parties additional time for plea
22   negotiation and preparation of a plea agreement.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
3    3161(h)(8)(B)(i) and (iv).
4                                                                  McGREGOR W. SCOTT
                                                                   United States Attorney
5
6    DATED: August 17, 2006                                By:     /s/ Kimberly A. Kelly
                                                                   KIMBERLY A. KELLY
7                                                                  Assistant United States Attorney
                                                                   Attorney for Plaintiff
8
9
10   DATED: August 17, 2006                                By:     /s/ Stephen Quade
                                                                   STEPHEN QUADE
11                                                                 Attorney for Defendant
                                                                   MANDEL WRIGHT
12
13
                                                                   DANIEL J. BRODERICK
14                                                                 Federal Defender
15
     DATED: August 17, 2006                                By:     /s/ Melody M. Walcott
16                                                                 MELODY M. WALCOTT
                                                                   Assistant Federal Defender
17                                                                 Attorney for Defendant
                                                                   MELVIN RAY WHITEHEAD
18
19
20
                                                       ORDER
21
             IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
22
     3161(h)(8)(B)(i) and (iv).
23
24
     IT IS SO ORDERED.
25
     Dated:      August 18, 2006                        /s/ Anthony W. Ishii
26   0m8i78                                       UNITED STATES DISTRICT JUDGE
27
28

     Stipulation to Continue Status Conference
     Hearing and [Proposed] Order Thereon                  2
